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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                           CRIMINAL ACTION NO. 4:09CR066-WAP-DAS

EVELYN JACKSON, ET AL.,                                                        DEFENDANTS.

                                               ORDER

          This matter comes before the court upon Defendant Evelyn Jackson’s September 16, 2009

appeal [102] of the U.S. Magistrate Judge’s Order denying the defendant’s motion for a bill of

particulars and for discovery relief. After due consideration of the motion, the court finds as follows,

to-wit:

          Because the defendant has not demonstrated that the U.S. Magistrate Judge’s September 16,

2009 Order was clearly erroneous or contrary to law pursuant to Fed. R. Crim. P. 59, the court

concludes that the instant appeal should be dismissed.

          IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Evelyn Jackson’s

September 16, 2009 appeal [102] of the U.S. Magistrate Judge’s Order denying the defendant’s

motion for a bill of particulars and for discovery relief is overruled and dismissed.

          SO ORDERED this the 22nd day of October, A.D., 2009.



                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE
